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                                                       November 28, 2023


 BY ECF
 Hon. Margo K. Brodie, U.S.D.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                      Re:       Pasquale J. Guerriero v. Diocese of Brooklyn, et al.,
                                Docket No. 21-cv-04923-MKB-JRC

 Dear Chief Judge Brodie:

        We represent defendant The Roman Catholic Diocese of Brooklyn, New York (the
 “Brooklyn Diocese”), sued as Diocese of Brooklyn. Pursuant to Rule 3.A of Your Honor’s
 Individual Practices and Rules, we respectfully request a pre-motion conference concerning the
 Brooklyn Diocese’s anticipated motion to stay this proceeding because its primary liability
 insurance company, Arrowood Indemnity Company (“Arrowood”), is the subject of liquidation
 proceedings in Delaware.

          Arrowood, formerly known as Royal Indemnity Company, is a Delaware stock property
  and casualty insurance company, licensed in forty-nine states and in the District of Columbia to
  write health, property, surety, marine and transportation, and casualty insurance. Prior to
  November 6, 2023, Arrowood was in runoff and no longer writing any new business. However,
  between 1956 and 1977, certain of Arrowood’s predecessor companies were the Brooklyn
  Diocese’s primary general liability insurer and sold a number of primary and excess insurance
  policies to the Brooklyn Diocese. These policies were part of a comprehensive insurance
  program that provided insurance coverage to not only the Brooklyn Diocese, but also to all the
  parishes within the geographic and ecclesiastical territory of the Brooklyn Diocese and to other
  Catholic entities in Brooklyn and Queens. As a result of this, the Brooklyn Diocese and its
  parishes and other related entities insured under the Arrowood policies have tendered to
  Arrowood, for defense and indemnification, all CVA complaints filed against them alleging the
  negligent hiring, supervision, and/or retention of clergy members or other individuals alleged to
  have sexually abused minors during the Arrowood policy periods of 1956 through 1977. This is
  one such case, with the alleged abuse having occurred between 1962 and 1969.

       On November 6, 2023, the Insurance Commissioner of the State of Delaware (the
 “Delaware Commissioner”) filed a complaint against Arrowood in the Delaware Chancery
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 Court for entry of a liquidation and injunction order declaring that Arrowood is insolvent, in an
 unsound financial condition, and “in a condition that renders its further transaction of insurance
 presently or prospectively hazardous to its policyholders.” Complaint at ¶ 32, In re Liquidation
 of Arrowood Indemnity Co., No. 2023-1126-LWW (Del. Ch. Nov. 6, 2023). (A copy of the
 Delaware Commissioner’s complaint is enclosed as Exhibit A.) Contemporaneously with the
 filing of the complaint, the Delaware Commissioner filed a motion for entry of a liquidation and
 injunction order by consent requesting that the Delaware Chancery Court appoint the Delaware
 Commissioner as receiver of Arrowood, direct the receiver to take possession of the property
 and assets of Arrowood, and order the liquidation of Arrowood.

         On November 8, 2023, the Delaware Chancery Court granted the Delaware
 Commissioner’s motion for entry of a liquidation and injunction order. (A copy of the court’s
 order is enclosed as Exhibit B.) Pursuant to the order, the court declared that “Arrowood is
 insolvent” and “[t]herefore, sufficient cause exists for the liquidation of Arrowood” pursuant to
 Delaware law. Liquidation and Injunction Order at 22, In re Liquidation of Arrowood Indemnity
 Co., No. 2023-1126-LWW (Del. Ch. Nov. 8, 2023). Further, the order provides for a stay of all
 underlying litigations involving Arrowood for at least 180 days. Specifically, paragraph 20 of the
 order states:

                All persons or entities that have notice of these proceedings or of this Order
                are hereby enjoined and restrained from instituting or further prosecuting
                any action at law or in equity, or proceeding with any pretrial conference,
                trial, application for judgment, or proceedings on judgment or settlements
                and such action at law, in equity, special, or other proceedings in which
                Arrowood is obligated to defend a party insured or any other person it is
                legally obligated to defend by virtue of its insurance contract for a period of
                180 days from the date hereof. Notwithstanding the foregoing injunction, at
                any time during the 180-day period, the Receiver may at his discretion,
                when he deems it appropriate and in the best interest of the Arrowood
                estate, its policyholders or creditors, consent to allow any such proceeding
                or proceedings so enjoined to proceed.

  Id. at ¶ 20, In re Liquidation of Arrowood Indemnity Co., No. 2023-1126-LWW
  (Del. Ch. Nov. 8, 2023).

          Given the Delaware Commissioner’s recent actions and based on our discussions with
  representatives of the New York Liquidation Bureau (“Liquidation Bureau”), we understand
  that the Liquidation Bureau will—likely within the next 60 days but possibly sooner—file for an
  ancillary receivership of Arrowood in New York. This will be done in order to protect the
  interests of Arrowood’s policyholders and creditors in this state, including the Brooklyn
  Diocese. As is customary in these scenarios, we understand that the Liquidation Bureau’s
  petition seeking appointment of an ancillary receivership will include a request that the New

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  York Supreme Court stay all actions, lawsuits, or other proceedings in New York against
  Arrowood’s insureds, including the Brooklyn Diocese and other related entities.

           New York state courts have held that a court-ordered injunction from another state
  involving claims against insureds of an insolvent liability insurance company are entitled to full
  faith and credit in New York. See Dambrot v. REJ Long Beach, LLC, 39 A.D.3d 797, 799 (2d
  Dep’t 2007) (“A stay by a court in another state enjoining and restraining all claims against
  insureds of an insolvent liability insurer is entitled to full faith and credit, and has the effect of
  suspending all proceedings against the insured as of its effective date.”); see also Beecher v.
  Lewis Press Co., 238 A.D.2d 927, 927 (1st Dep’t 1997) (finding that trial court erred in failing
  to give full faith and credit to order of Rhode Island court enjoining and restraining all claims
  against any assured of insolvent insurance company until further order of that court).
  Accordingly, the Delaware Chancery Court’s Liquidation and Injunction Order is entitled to the
  full faith and credit of the New York courts.

           Consistent with the stay requested in this case, on November 13, 2023, Hon. Robert M.
  Levy, U.S.M.J., ordered a stay of all proceedings in Murray v. Nazareth Regional High School
  et al., No. 1:20-cv-01471-NGG-RML (E.D.N.Y.). The Murray case involves defendant
  Nazareth Regional High School, which is an insured under the relevant Arrowood policies.

         We have conferred with counsel for plaintiff Pasquale Guerriero, who has requested
  until December 5, 2023 to provide a response as to whether plaintiff will consent to the
  requested stay.

                                               * * * *

        For the foregoing reasons, the Brooklyn Diocese hereby requests a pre-motion conference
 pursuant to Rule 3.A of Your Honor’s Individual Motion Practices and Rules concerning the
 Brooklyn Diocese’s anticipated motion to stay this proceeding in accordance with the Delaware
 Chancery Court’s Liquidation and Injunction Order.



                                                     Respectfully,



                                                     Randall L. Morrison, Jr.
 Enclosures

 cc: Hon. James R. Cho, U.S.M.J. (via ECF)
     All counsel of record (via ECF)



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  EXHIBIT B
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                        GRANTED WITH
                                                               Case No. 2023-1 1 26-LWW


              IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

  STATE OF DELAWARE ex rel.                       )
  THE HONORABLE TRINIDAD                          )
  NAVARRO, Insurance Commissioner                 )
  of the State of Delaware,                       )
                                                  )
                        Plaintiff,                )
                                                  )
                  v.                              ) C.A. No.
                                                  )
  ARROWOOD INDEMNITY COMPANY,)
  a Delaware Domestic Property & Casualty         )
  Insurance Company,                     )
                                                  )
                        Defendant.                )




               LIQUIDATION AND INJUNCTION ORDER WITH BAR DATE


          WHEREAS, the Honorable Trinidad Navarro, Insurance Commissioner of the State

  of Delaware (the "Commissioner"), has filed a verified complaint (the “Complaint") and

  Motion seeking the entry of a Liquidation and Injunction Order with Bar Date (the

  "Motion") concerning Arrowood Indemnity Company ("Arrowood"), pursuant to 18 Del.

  C. § 5901, et seq.;

          WHEREAS, the Receiver has provided the Court with evidence sufficient to support

  the conclusion that Arrowood is insolvent, in an unsound condition, a condition that

  renders its further transaction of insurance presently or prospectively hazardous to its

  policyholders, and has consented to the entry of a Liquidation and Injunction Order with
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  Bar Date through a majority of the directors of the corporation;

         WHEREAS, this Court finds that sufficient cause exists for the liquidation of

  Arrowood, pursuant to 18 Del. C. §§ 5905 and 5906 and for the entry of a Liquidation and

  Injunction Order with Bar Date ("Liquidation Order") concerning Arrowood; and

         WHEREAS, a formal hearing on the Commissioner's Motion is not necessary due to

  Arrowood's consent to the relief requested by the Motion and Arrowood's waiver of formal

  service of process and a formal hearing on the Motion;

         NOW, THEREFORE, THE COURT FINDS AND ORDERS AS FOLLOWS:

         1.     The verified Complaint, including the exhibits thereto, contain sufficient

  evidence to support the conclusion that Arrowood is insolvent, in an unsound condition,

  and a condition that renders its further transaction of insurance presently or prospectively

  hazardous to its policyholders. Because Arrowood has not contested the Complaint or the

  Motion and has consented to entry of the Liquidation Order, the allegations of the

  Complaint are deemed admitted as against Arrowood for purposes of this proceeding.

         2.     These allegations are also supported by the exhibits to the Complaint filed

  contemporaneously with the Motion.

         3.     As a separate and independent basis for entry of the Liquidation Order,

  evidence that all of the directors of Arrowood to the entry of the Liquidation Order has been

  attached to the Complaint and submitted in support of the Motion.

         4.     Given the determination set forth above, a formal hearing on the Motion is


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  not necessary.

         5.     Consequently, it is hereby declared that: Arrowood is insolvent, in an

  unsound condition, and in a condition that renders its further transaction of insurance

  presently or prospectively hazardous to its policyholders. Therefore, sufficient cause exists

  for the liquidation of Arrowood pursuant to 18 Del. C. §§ 5905, 5906, and 18 Del. C. ch. 59

  and for the entry of a Liquidation Order concerning Arrowood.

         6.     Pursuant to 18 Del. C. § 5913(a), the Commissioner and his successors in office

  are hereby appointed as the receiver (hereinafter the "Receiver") of Arrowood.

         7.     Pursuant to 18 Del. C. §§ 5911 and 5913, the Receiver shall forthwith take

  exclusive possession and control of the property of Arrowood, liquidate its business, and

  deal with Arrowood's property and business in the name of the Receiver or in the name of

  Arrowood. Further, the Receiver shall be vested with all right, title, and interest in, of, and

  to the property of Arrowood including, without limitation, all of Arrowood's assets,

  contracts, rights of action, books, records, bank accounts, certificates of deposits, collateral

  securing obligations to, or for the benefit of, Arrowood or any trustee, bailee, or any agent

  acting for or on behalf of Arrowood (collectively, the "Trustees"), securities or other funds,

  and all real or personal property of any nature of Arrowood including, without limitation,

  furniture, equipment, fixtures, and office supplies, wherever located, and including such

  property of Arrowood or collateral securing obligations to, or for the benefit of, Arrowood

  or any Trustee thereof that may be discovered hereafter, and all proceeds of or accessions


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  to any of the foregoing, wherever located, in the possession, custody, or control of

  Arrowood or any Trustee therefore (collectively, the "Assets").

         8.     The Receiver may, at his election, change to his own name as Receiver, the

  name of any of Arrowood's accounts, funds, or other Assets held with any bank, savings

  and loan association, or other financial institution, and may withdraw such funds, accounts,

  and other Assets from such institutions or take any other action necessary for the proper

  conduct of this liquidation.

         9.     The Receiver is further authorized to take such actions as the nature of this

  cause and interests of the policyholders, creditors, and stockholder of Arrowood and the

  public may require in accordance with 18 Del. C. ch. 59.

         10.    The Receiver is hereby authorized to deal with the Assets, business, and

  affairs of Arrowood including, without limitation, the right to sue, defend, and continue to

  prosecute suits or actions already commenced by or for Arrowood, or for the benefit of

  Arrowood's policyholders, creditors, and shareholders in the courts, tribunals, agencies, or

  arbitration panels for this State and other states and jurisdictions in his name as Receiver of

  Arrowood, or in the name of Arrowood.

         11.    The Receiver is hereby authorized to continue to make payments for medical

  expenses and indemnity for workers compensation claimants and for medical expenses and

  wage/income loss for motor vehicle claimants, and for medical expense and wage/income

  loss payments under similar programs, including but not limited to the Federal Black Lung


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  program, until such time as the claims files are transferred to the applicable guaranty

  association and the guaranty association begins making payments to the claimant.

        12.       The Receiver is hereby vested with the right, title, and interest in and to all

  funds recoverable under treaties and agreements of reinsurance heretofore entered into by

  Arrowood as the ceding insurer or as the assuming insurer, and all reinsurance companies

  involved with Arrowood are enjoined and restrained from making any settlements with

  any claimant or policyholder of Arrowood other than with the express written consent of

  the Commissioner as Receiver, except as permitted by cut-through agreements or

  endorsements which were issued to the policyholder, which were properly executed before

  the date of this Order, which comply in all respects with 18 Del. C. § 914, as amended by 72

  Del. Laws c. 405, and which were approved by the Delaware Insurance Department if such

  approval was required. The amounts recoverable by the Receiver from any reinsurer of

  Arrowood shall not be reduced or diminished as a result of this receivership proceeding or

  by reason of any partial payment or distribution on a reinsured policy, contract, or claim,

  and each such reinsurer of Arrowood is hereby enjoined and restrained from terminating,

  canceling, failing to extend or renew, or reducing or changing coverage under any

  reinsurance policy, reinsurance contract, or letter of credit. The Receiver may terminate or

  rescind any reinsurance policy or contract that is contrary to the best interests of the

  receivership.

        13.       All persons or entities (other than the Receiver or persons acting on behalf of

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  Arrowood with the consent of the Receiver) that have in their possession or control Assets

  or possible Assets and/or have notice of these proceedings or of this Order are hereby

  enjoined and restrained from transacting any business of, or on behalf of, Arrowood or

  selling, transferring, destroying, wasting, encumbering, or disposing of any of the Assets,

  without the prior written permission of the Receiver or until further Order of this Court.

  This prohibition includes, without limitation, Assets or possible Assets pertaining to any

  business transaction between Arrowood and any of said parties. No actions concerning,

  involving, or relating to such Assets or possible Assets may be taken by any of the aforesaid

  persons or entities enumerated herein, without the express written consent of the Receiver,

  or until further Order of this Court.

         14.    All persons or entities having notice of these proceedings or of the Liquidation

  Order are hereby enjoined and restrained from exercising or relying upon any contractual

  right which would permit such third party or parties from withholding, failing to pay,

  setting-off or netting, except pursuant to 18 Del. C. § 5927, or taking similar action with

  respect to any obligations owed to Arrowood.

         15.    All persons or entities having notice of these proceedings or of the Liquidation

  Order are hereby enjoined and restrained from commutating, terminating, accelerating or

  modifying any policy of insurance, agreement of reinsurance, or other contract or

  agreement, or asserting a default or event of default or otherwise exercising, asserting or

  relying upon any other right or remedy, based upon: (1) the filing of the Complaint for Entry

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  of Liquidation and Injunction Order with Bar Date, (2) the entry of this Liquidation Order,

  (3) the unsound or hazardous condition of Arrowood, (4) the impairment or insolvency of

  Arrowood; or (5) the facts and circumstances set forth in the Complaint for Entry of

  Liquidation and Injunction Order with Bar Date, without the prior written permission of

  the Receiver or until further Order of this Court.

         16.    Except as otherwise indicated elsewhere in this Order or except as excluded

  by express written notice provided by the Receiver, all persons or entities holding Assets or

  possible Assets of, or on behalf of, Arrowood shall file with the Receiver within ten (10)

  calendar days of the entry of this Order an accounting of those Assets and possible Assets,

  regardless of whether such persons or entities dispute the Receiver's entitlement to such

  Assets.

         17.    Except as otherwise indicated elsewhere in this Order or except as excluded

  by express written notice provided by the Receiver, all persons or entities holding Assets or

  possible Assets of, or on behalf of, Arrowood, shall within ten (10) calendar days of the entry

  of this Order turn those Assets or possible Assets over to the Receiver, regardless of whether

  such persons or entities dispute the Receiver's entitlement to such Assets or possible Assets.

         18.    All persons and entities that have notice of these proceedings or of this Order

  are hereby prohibited from instituting or further prosecuting any action at law or in equity

  or in other proceedings against Arrowood, the Receiver, the Deputy Receiver(s), or the

  Designees in connection with their duties as such, or from obtaining preferences, judgments,

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  attachments, or other like liens or encumbrances, or foreclosing upon or making any levy

  against Arrowood or the Assets, or exercising any right adverse to the right of Arrowood to

  or in the Assets, or in any way interfering with the Receiver, the Deputy Receiver(s), or the

  Designees either in their possession and control of the Assets or in the discharge of their

  duties hereunder.

         19.    All persons and entities are hereby enjoined and restrained from asserting any

  claim against the Commissioner as Receiver of Arrowood, the Deputy Receiver(s), or the

  Designees in connection with their duties as such, or against the Assets, except insofar as

  such claims are brought in the liquidation proceedings of Arrowood and in a manner

  otherwise compliant with this Order.

         20.    All persons or entities that have notice of these proceedings or of this Order

  are hereby enjoined and restrained from instituting or further prosecuting any action at law

  or in equity, or proceeding with any pretrial conference, trial, application for judgment, or

  proceedings on judgment or settlements and such action at law, in equity, special, or other

  proceedings in which Arrowood is obligated to defend a party insured or any other person

  it is legally obligated to defend by virtue of its insurance contract for a period of 180 days

  from the date hereof. Notwithstanding the foregoing injunction, at any time during the 180-

  day period, the Receiver may at his discretion, when he deems it appropriate and in the best

  interest of the Arrowood estate, its policyholders or creditors, consent to allow any such

  proceeding or proceedings so enjoined to proceed.

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         21.    All insurance policies, surety bonds, and contracts of insurance issued by

  Arrowood, whether issued in the State of Delaware or elsewhere, in effect as of the date

  of this Liquidation Order shall only continue in force until the earlier of the following

  events: (i) the stated expiration or termination date and time of the insurance policy,

  surety bond, or contract of insurance; (ii) the effective date and time of a replacement

  insurance policy, surety bond, or contract of insurance of the same type issued by another

  insurer regardless of whether the coverage is identical coverage; (iii) the effective date

  and time that the Arrowood insurance policy, surety bond, or contract of insurance

  obligation is transferred to another insurer or entity authorized by law to assume such

  obligation; or (iv) the cancellation and termination for all purposes of the insurance

  policy, surety bond, or contract of insurance at 12:01 a.m. on the thirtieth (30th) calendar

  day from the date of this Order pursuant to Paragraph 22 below.

         22.    Except for those insurance policies, surety bonds, or contracts of insurance

  which expire or are cancelled, terminated, or transferred earlier as set forth in Paragraph

  21(i) through (iii) above, all insurance policies, surety bonds, or contracts of insurance

  issued by Arrowood, whether issued in the State of Delaware or elsewhere, in effect as of

  the date of this Liquidation Order, are hereby cancelled and terminated for all purposes

  as of 12:01 a.m. on the thirtieth (30th) calendar day following the date of this Liquidation

  Order. For purposes of this paragraph, even if the thirtieth (30th) calendar day following

  the date of this Liquidation Order is a Saturday, Sunday, or holiday, the insurance policy,


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  surety bond, or contract of insurance shall be cancelled and terminated as of 12:01 a.m.

  on the thirtieth (30th) calendar day following the date of this Liquidation Order. The

  Receiver shall notify promptly all policyholders, principals, or obligees as applicable of

  such policy, surety bond, or contract cancellation and termination by United States first

  class mail at the last known address of such policyholders, principals or obliges.

         23.    Pursuant to 18 Del. C. § 5924, the rights and liabilities of Arrowood and of

  its creditors, policyholders, principals, obligees, claimants, stockholders, members,

  subscribers, and all other persons interested in its estate shall, unless otherwise directed

  by the Court, be fixed as of the date of this Liquidation Order, subject to the provisions

  of Chapter 59 of Title 18 of the Delaware Code with respect to the rights of claimants

  holding contingent claims.

         24.    ANY AND ALL CLAIMS NOT FILED WITH THE RECEIVER ON OR

  BEFORE THE CLOSE OF BUSINESS ON JANUARY 15, 2025 (THE "BAR DATE") SHALL

  BE BARRED FROM CLASSES II THROUGH VI AS THOSE CLASSES ARE DEFINED IN

  18 DEL. C. §§ 5918(e)(2) THROUGH (e)(6) AND SHALL NOT RECEIVE ANY

  DISTRIBUTIONS FROM THE GENERAL ASSETS OF THE ESTATE OF ARROWOOD

  UNLESS AND UNTIL ASSETS BECOME AVAILABLE FOR A DISTRIBUTION TO

  CLASS VII CLAIMANTS AS DEFINED IN 18 DEL. C. § 5918(e)(7). THIS BAR DATE

  SHALL SUPERSEDE ANY APPLICABLE STATUTES OF LIMITATIONS OR OTHER

  STATUTORY OR CONTRACTUAL TIME LIMITS WHICH HAVE NOT YET EXPIRED

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  WHETHER ARISING UNDER DELAWARE LAW, UNDER THE APPLICABLE LAWS

  OF ANY OTHER JURISDICTION, OR UNDER A CONTRACT WITH ARROWOOD BUT

  SHALL ONLY APPLY TO CLAIMS AGAINST ARROWOOD IN THE LIQUIDATION

  PROCEEDINGS AND DOES NOT APPLY TO, AND EXCLUDES, CLAIMS BROUGHT

  BY ARROWOOD. ALL CLAIMANTS SHALL ATTACH TO SUCH PROOF OF CLAIM

  DOCUMENTATION SUFFICIENT TO SUPPORT SUCH CLAIM.                                 FOR NON¬

  CONTINGENT CLAIMS, THE FILED CLAIMS SHALL NOT BE REQUIRED TO BE

  LIQUIDATED AND ABSOLUTE ON OR BEFORE THE BAR DATE SET FORTH

  HEREIN.

         25.    CONTINGENT AND UNLIQUIDATED CLAIMS THAT ARE PROPERLY

  FILED WITH THE RECEIVER IN ACCORDANCE WITH THIS ORDER SHALL ONLY

  BE ELIGIBLE TO SHARE IN A DISTRIBUTION OF THE ASSETS OF ARROWOOD IN

  ACCORDANCE WITH 18 DEL. C. § 5928.

         26.    Within sixty (60) calendar days after the date of this Order, or as soon as

  possible after an interested party or potential creditor subsequently becomes known to

  the Receiver, the Receiver shall serve a copy of this Liquidation Order, a Notice of

  Liquidation substantially in the form appended to the Motion as Exhibit C, a Proof of

  Claim Form substantially in the form appended to the Motion as Exhibit D, and the

  Instructions for the Proof of Claim Form substantially in the form appended to the Motion

  as Exhibit E, on all interested parties, all known potential creditors, all current and former


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  stockholders of Arrowood, all former Board members of the Arrowood, its third party

  adjusters, its managing general underwriters, its brokers, its agents, its reinsurer(s), and

  any reinsurance intermediaries, all other known vendors, all state insurance guaranty

  associations providing coverage for the lines of business written by Arrowood, and all

  State Insurance Commissioners by United States first class mail, postage prepaid,

  provided that in the Receiver's discretion such notice may be mailed instead by United

  States first class certified mail, return receipt requested, or other United States mail

  providing proof of mailing, to such interested party or potential creditor's last known

  address in the company's files.

         27.    Within thirty (30) calendar days after the date of this Order, the Receiver

  shall also publish this Liquidation Order, the Notice of Liquidation, Proof of Claim Form,

  and the Instructions to the Proof of Claim Form on the Delaware Department of Insurance

  website at the link referred to in Exhibit "E" to the Motion.

         28.    Pursuant to the provisions of 18 Del. C. §§ 5904(b) and 5928(c), no judgment

  against Arrowood and/or one or more of its insureds taken after the date of this

  Liquidation Order shall be considered in the liquidation proceedings as evidence of

  liability or of the amount of damages, and no judgment against Arrowood and/or one or

  more of its insureds taken by default or by collusion prior to the effective date of the

  Liquidation Order shall be considered as conclusive evidence in the liquidation

  proceedings, either of the liability of Arrowood and/or one or more of its insureds to such

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  person or entity upon such cause of action or of the amount of damages to which such

  person or entity is therein entitled.

         29.    The Receiver shall submit claim Recommendation Reports to the Court

  within a reasonable time after the Receiver's investigation concerning all claims

  submitted by a particular claimant has been completed.

         30.    The Receiver will file reports of receipts and disbursements with the Court

  on an annual basis in a form consistent with past practice in receiverships.

         31.    The filing or recording of this Order or a certified copy hereof with the

  Register in Chancery and with the recorder of deeds of the jurisdiction in which Arrowood's

  corporate and administrative offices are located or, in the case of real estate or other

  recorded property interests, with the recorder of deeds of the jurisdictions where the

  property is located, shall impart the same notice as would be imparted by a deed, bill of

  sale, or other evidence of title duly filed or recorded with that recorder of deeds. Without

  limiting the foregoing, the filing of this Order with the Register in Chancery also constitutes

  notice to all sureties and fidelity bondholders of Arrowood of all potential claims against

  Arrowood under such policies and shall constitute the perfection of a lien in favor of

  Arrowood under the Uniform Commercial Code or any like Federal or state law, regulation,

  or order dealing with the priority of claims.

         32.    The Receiver is hereby authorized to transfer some or all of Arrowood's

  Assets and liabilities to a separate affiliate or subsidiary for the overall benefit of


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  Arrowood's policyholders, creditors, and shareholders, subject to approval by this Court.

         33.    The Receiver may, in his discretion, reject any executory contract to which

  Arrowood is a party.

         34.    The Receiver may, in his discretion, appoint one or more consultants or other

  persons to serve as Deputy Receiver to assist the Receiver in accomplishing the directives

  of this Order. The Deputy Receiver(s) shall serve at the pleasure of the Receiver and, subject

  to the approval of the Receiver, shall be entitled to exercise all of the powers and authorities

  vested in the Receiver pursuant to this Order and applicable law.

         35.    The Receiver may employ or continue to employ and fix the compensation of

  such deputies, counsel, clerks, employees, accountants, actuaries, consultants, assistants

  and other personnel (collectively, the "Designees") as considered necessary, and all

  compensation and expenses of the Receiver, the Deputy Receiver(s) and the Designees and

  of taking possession of Arrowood and conducting this proceeding shall be paid out of the

  funds and assets of Arrowood as administrative expenses. The Receiver may also retain

  those of Arrowood's current management personnel and other employees as Designees as

  he in his discretion determines would facilitate the liquidation of Arrowood. All such

  Designees shall be deemed to have agreed to submit disputes concerning their rights,

  obligations, and compensation in their capacity as Designees to this Court.

         36.    The Receiver, the Deputy Receiver(s), and the Designees (collectively, the

  "Indemnitees") shall have no personal liability for their acts or omissions in connection with

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  their duties, provided that such acts or omissions are or were undertaken in good faith and

  without willful misconduct, gross negligence, or criminal intent. All expenses, costs, and

  attorneys' fees incurred by the Indemnitees in connection with any lawsuit brought against

  them in their representative capacities shall be subject to the approval of the Receiver, except

  that in the event that the Receiver is the Indemnitee, this Court's approval shall be required,

  and such expenses, costs, and attorneys' fees shall be exclusively paid out of the funds and

  assets of Arrowood. The Indemnitees in their capacities as such shall not be deemed to be

  employees of the State of Delaware.

         37.    Hereafter the caption of this cause and all pleadings in this matter shall read

  as:




                               "IN THE MATTER OF THE LIQUIDATION
                               OF ARROWOOD INDEMNITY COMPANY."




         38.    This Court shall retain jurisdiction in this cause for the purpose of granting

  such other and further relief as this cause, the interests of the policyholders, creditors,

  stockholder of Arrowood, and the public may require. The Receiver, or any interested party


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  upon notice to the Receiver, may at any time make application for such other and further

  relief as either sees fit.

          SO ORDERED this         day of                     , 2023.




                                   Vice Chancellor




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 This document constitutes a ruling of the court and should be treated as such.
                Court: DE Court of Chancery Civil Action

                Judge: Lori W. Will
       File & Serve
    Transaction ID: 71343102
      Current Date: Nov 08, 2023
      Case Number: 2023-1126-LWW
         Case Name: State of Delaware ex rel. The Honorable Trinidad Navarro v. Arrowood Indemnity
                    Company
 Court Authorizer: Lori W. Will



  Court Authorizer
       Comments:
 As set forth in the stipulation at docket entry 8, the relief sought in the motion and the facts supporting the motion
 are uncontested. The directors of the defendant have agreed to the relief sought in this liquidation order.
 Accordingly, the order is granted as unopposed.

 /s/ Judge Lori W. Will
